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Attorney or Party without Attorney: For Court Use Only
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Attorney For: Plaintiff Ref. No. or File No.:

 

 

Insert name of Court, and judicial District and Branch Court:
UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF FLORIDA

Plaintiff HARD ROCK CAFE INTERNATIONAL (USA), INC., et al.
Defendant: ROCKSTAR HOTELS, INC., et al.

 

 

PROOF OF SERVICE Hearing Date: Time: Dept/Div: Case Number:
17-CV-62013-BLOOM/VALLE

 

 

 

 

 

 

 

1. At the time of service | was at least 18 years of age and not a party to this action.

2. Iserved copies of the SUMMONS INA CIVIL ACTION; CIVIL COVER SHEET; COMPLAINT; AFFIDAVIT OF DUE DILIGENCE X2;
ORDER; LETTER DATED NOVEMBER 3, 2017

3. a. Partyserved: ROCKSTARHOTELS, INC.
b. Person served: YVETTE SCOTT, SECRETARY OF STATE, REGISTERED AGENT FOR SERVICE OF PROCESS

4. Address where the party was served: 2661 EXECUTIVE CENTER CIRCLE, TALLAHASSEE, FL 32301

5. | served the party:
a. by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to receive
process for the party (1) on: Fri, Nov 03 2017 (2) at: 03:45 PM

6. Person Who Served Papers:
a. ROBERT MCGUIRE {) d. The Fee for Service was:
b. FIRST LEGAL
1202 Howard Street
SAN FRANCISCO, CA 94103
c. (415) 626-3111

7. 4Ideclare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
Cc
11/07/2017
(Date) (Signature)

PROOF OF 1788580
SERVICE (9054805)

 
